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                                   8                                  UNITED STATES DISTRICT COURT

                                   9                                 NORTHERN DISTRICT OF CALIFORNIA

                                  10                                          San Francisco Division

                                  11     UNITED STATES OF AMERICA,                           Case No. 20-cr-00249-RS (LB)
                                  12                    Plaintiff,                           DISCOVERY ORDER
Northern District of California
 United States District Court




                                  13             v.                                          Re: ECF Nos. 237–239

                                  14     ROWLAND MARCUS ANDRADE,
                                  15                    Defendant.

                                  16

                                  17      This order addresses pending disputes. Preliminarily, for every issue in this order, and for all

                                  18   issues going forward, the parties must support their arguments with legal analysis and citations to

                                  19   relevant cases. This requirement applies to all issues, even if they were discussed in earlier filings:

                                  20   the parties must provide a stand-alone analysis that does not incorporate by reference earlier

                                  21   filings. The parties to date have been long on argument and short on analysis.

                                  22      First, the government suggested in ECF No. 237 that it was returning Mr. Levin’s phone. The

                                  23   court’s earlier order at ECF No. 235 contemplated return only of an image. The court’s

                                  24   understanding at time was that the government contemplated retention of the phone. Also, the

                                  25   court assumed, analogizing to the wiretap context, that the government would retain at least an

                                  26   image of the phone under seal, if only to allow Mr. Levin’s challenges to the government’s seizure

                                  27   decisions about his devices. A contrary position risks the possibility of spoliation of evidence in

                                  28   this case if the only evidence is returned to Mr. Levin. The court asks the government for an

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                                   1   update by December 7, 2023, about the status of the phone, including its retention of an image,

                                   2   and, if it returned the phone without the retention of an image, the legal effect on the litigation.

                                   3   Mr. Andrade may reply by December 11, 2023.

                                   4      Second, Mr. Andrade said that it contests the sufficiency of the government’s production about

                                   5   the contents of the Levin phone. (Reply – ECF No. 234 at 6 n.12.) The government must respond

                                   6   by December 7, 2023. Mr. Andrade may reply by December 11, 2023.

                                   7      Third, the court clarifies that its earlier orders apply to all of Mr. Levin’s devices (such as his

                                   8   iPad) that were seized, not just his phone.

                                   9      Fourth, the government must respond to point three in Mr. Andrade’s letter brief at ECF No.

                                  10   238, again by December 7, 2023, and Mr. Andrade must reply by December 11, 2023.

                                  11      Fifth, the parties must confer on the last point in the letter brief at ECF No. 238 at 2, which is

                                  12   about the list of items seized from Mr. Levin’s phone. Then, by December 7, 2023, the government
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                                  13   must say whether it will produce the list, and Mr. Andrade must reply by December 11, 2023.

                                  14      Finally, the government must respond to the ex parte motion at ECF No. 239 by December 7,

                                  15   2023, and Mr. Andrade must respond by December 11, 2023. The court’s preliminary reaction is

                                  16   that Mr. Andrade should be able to subpoena the information, and the government’s approach is

                                  17   not what the court contemplated (and should not result, for example, in the complete return of the

                                  18   evidence until the court has addressed the discovery issues). Mr. Levin can always resist

                                  19   production, but the process in this case at minimum must preserve the status quo.

                                  20      The matter remains set for a hearing on December 14, 2023, in person. The defendant’s

                                  21   presence can be waived (and the court can provide a courtesy Zoom link so that he can attend

                                  22   virtually). Also, if Mr. Andrade’s lead (also local) counsel appears in person, then the court can

                                  23   accommodate a Zoom link for remote counsel working with lead counsel. But the current rules

                                  24   militate against remote appearances in criminal cases generally. The court is open to arguments to

                                  25   the contrary.

                                  26      IT IS SO ORDERED.

                                  27      Dated: December 3, 2023                     _____________________________________
                                                                                      LAUREL BEELER
                                  28                                                  United States Magistrate Judges

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